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                                                                                          United States Bankruptcy Court
                           UNITED STATES BANKRUPTCY COURT                                     Southern District of Texas
                             SOUTHERN DISTRICT OF TEXAS                                          ENTERED
                                                                                               January 17, 2024
In Re:                                             §                                          Nathan Ochsner, Clerk
Joanna Burke                                       §        Case No.: 23−35083
       Debtor.                                     §        Chapter: 13


                                      ORDER OF DISMISSAL

        Appropriate notice having been given that the case would be dismissed without further notice
if the debtor failed to comply with the Deficiency Order issued in this case, and the Clerk having
informed the Court that the debtor has failed to satisfy the deficiencies as set out in the docket entry
for this order,

      IT IS ORDERED that this case is dismissed.

        IT IS FURTHER ORDERED that the debtor is barred from filing a new bankruptcy case
until the filing fee for this case is paid in full.

      Signed and Entered on Docket: 1/17/24.
